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                EXHIBIT J
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                             LEVIN-EPSTEIN & ASSOCIATES, P.C.
_____________________________________________________________________________________________
                           420 Lexington Avenue • Suite 2525 • New York, New York 10170
                                    T: 212.792-0046 • E: Joshua@levinepstein.com
                                                                                              March 11, 2021

Via Email Only
Wills Law Firm, PLLC
Attn: Rhonda H. Wills, Esq.
       Patrick Raspino, Esq.
1776 Yorktown, Suite 570
Houston, TX 77056
Email: rwills@rwillslawfirm.com
       praspino@rwillslawfirm.com

                          Re:     The Pullman Group, LLC v. Isley et al
                                  Case No.: 1:20-cv-07293-GHW

Dear Ms. Wills and Mr. Raspino:

       As you know, this firm serves as litigation counsel to Plaintiff The Pullman Group, LLC
(the “Plaintiff”). On behalf of our client, we write to address you with respect to the following
urgent matter.

         On December 22, 2020, the undersigned law firm, on behalf of Plaintiff, served your
office with, inter alia:

        1. Plaintiff’s First Request for the Production of Documents; and

        2. Plaintiff’s First Set of Interrogatories (“Plaintiff’s Interrogatories”, and together,
           “Plaintiff’s First Set of Discovery Requests”).

      We are in receipt of your clients, the Isley Defendants’1 supplemental response, dated
March 1, 2021, in response to Plaintiff’s First Set of Discovery Requests.

        The Isley Defendants’ March 1, 2021 supplemental responses are deficient for the very
same reasons detailed in Plaintiff’s deficiency letter dated February 16, 2021. Despite the passage
of another moth, the Isley Defendants have not produced a single document since Plaintiff’s First
Set of Discovery Requests were served on December 22, 2020.

        As previously explained to you in our email dated March 2, 2021 and during our meet and
confer held on March 8, 2021, the Isley Defendants’ objection to virtually every single request in
Plaintiff’s First Set of Discovery Requests is groundless and meritless. We urge you to reconsider
your obstructionist conduct before the Court conference scheduled for March 17, 2021.

1
  The “Isley Defendants” refer to Defendants Ronald Isley (“Ronald”), Rudolph Isley (“Rudolph”), The Estate of
O’Kelly Isley, J.R. (the “O’Kelly Estate”), Isley Brothers, L.L.C. (“Isley Brothers LLC”), Isley Brothers Royalty
Venture I SPC, Inc. (“Royalty Venture”), Three Boys Music Corporation (“Three Boys”), Bovina Music Inc.
(“Bovina”), T-Neck Records, Inc. (“T-Neck”), and Triple Three Music, Inc. (“Triple Three”).

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Thank you, in advance, for your time and attention.

                                     Respectfully submitted,

                                            LEVIN-EPSTEIN & ASSOCIATES, P.C.

                                            By: /s/ Joshua D. Levin-Epstein
                                                Joshua D. Levin-Epstein
                                                420 Lexington Avenue, Suite 2525
                                                New York, NY 10170
                                                Tel.: (212) 792-0046
                                                Email: Joshua@levinepstein.com
                                                Attorneys for Plaintiff




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